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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

THE HOMESOURCE, CORP.,              Civil Action No.: 1:18-cv-11970-JBS-
                                    KMW
                  Plaintiff,
                                    Hon. Jerome B. Simandle
        v.
                                    Hon. Karen M. Williams
RETAILER WEB SERVICES, LLC,
et al.,                     Motion Returnable: November 5, 2018

                  Defendants.

 BRIEF IN SUPPORT OF DEFENDANT RETAILER WEB SERVICES, LLC’S
      MOTION TO SEVER OR DISMISS PLAINTIFF’S COMPLAINT

Dated: October 1, 2018               Respectfully submitted,

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                                   INTRODUCTION

      Plaintiff’s amended complaint alleges separate claims against separate parties

arising out of separate facts. Plaintiff alleges that Defendant Retail Web Services,

LLC (“RWS”), a business competitor, began a smear campaign to unfairly disparage it

and deceive its customers and potential customers giving rise to claims for false

advertising, defamation, tortious interference with contractual relations, and unfair

competition. In contrast, Plaintiff alleges that Defendants John Does 1-3 engaged in

two cyberattacks, a hacking attempt, and fake customer reviews giving rise to claims

under the Computer Fraud and Abuse Act and for tortious interference with contract.

      Federal Rule of Civil Procedure (“Rule”) 20(a)(2) only allows persons to be

joined in one action as defendants if: (A) any right to relief is asserted against them

jointly, severally, or in the alternative with respect to or arising out of the same

transaction, occurrence, or series of transactions or occurrences; and (B) any question

of law or fact common to all defendants will arise in the action. Otherwise, a plaintiff

has to simply file separate lawsuits against the separate parties.

      Here, Plaintiff has not asserted any right to relief against RWS and Does 1-3

jointly, severally, or in the alternative with respect to the same transaction, occurrence,

or series of occurrences. Indeed, there are no questions of law or fact common to all

defendants, and Plaintiff concedes that it is not asserting the new allegations against

RWS. Joinder is therefore improper under Rule 20. This Court should sever the action



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pursuant to Rule 21. Severing the separate claims against the separate parties would,

consistent with Rule 1, allow the parties and the Court to proceed to a just, speedy,

and inexpensive determination of each action.

      In the alternative, should the Court elect not to sever this action, Plaintiff’s

claims against Does 1-3 should be dismissed under Rule 12(b)(6), as Plaintiff has

failed to plead these claims with the requisite specificity to satisfy Twombly and Iqbal.



                            RELEVANT BACKGROUND
      Plaintiff sued RWS for false and misleading advertising under the Lanham Act,

defamation, tortious interference with prospective economic advantage, tortious

interference with contract, and unfair competition. (Dkt. 1, Compl., Counts I-V.)

These claims arose from a purported “smear campaign.” (Id., ¶ 3.) Specifically,

Plaintiff claimed that RWS tortiously interfered with its business by publishing an

article regarding prior lawsuits involving Plaintiff and its various members, owners,

and officers. (Id., ¶¶ 17-31.) Additionally, Plaintiff claimed that RWS misrepresented

security vulnerabilities in Plaintiff’s software system in a newsletter and video, and

that RWS’s CEO advised Plaintiff of observing that certain websites had been

compromised by a third party. (Id., ¶¶ 32-36.) RWS has denied all of Plaintiff’s

claims. (Dkt. 6, Answer.)

      Weeks later and without any forewarning, Plaintiff amended its complaint to




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add separate claims against separate parties arising out of separate facts. (Dkt. 12,

First Amended Compl. (“FAC”).) The amended complaint does not change the

substantive allegations and claims asserted against RWS. (Id.) Instead, the amended

complaint adds two new claims against three unnamed “John Doe” defendants,

identified only as “Cyber-Attack Doe,” “Hacking Doe,” and “Fake-Customer Doe.”

(Id., Counts VI-VII.) The two new claims are for violation of the Computer Fraud and

Abuse Act and tortious interference with contract. In summary, Plaintiff claims that

Cyber-Attack Doe launched one or more Denial of Service (“DoS”) and Distributed

Denial of Service (“DDoS”) cyberattacks on its computer systems; Hacking Doe

attempted to “hack” into Plaintiff’s website; and Fake-Customer Doe sent false or

misleading emails to Plaintiff’s customers in an effort to disparage Plaintiff’s website

functionality. (See id., ¶¶ 106-116.) Each of these claims arose from a series of events

that purportedly occurred after Plaintiff sued RWS, and each of these claims arose

from a wholly separate series of events than those giving rise to Plaintiff’s claims

against RWS.

      On its face, Plaintiff’s new allegations against Does 1-3 bear no transactional or

factual relation to its claims against RWS. Instead, the amended complaint sets forth

separate claims against separate parties arising out of separate facts. Counsel for

Plaintiff has even advised counsel for RWS that none of the claims asserted against

Does 1-3 have been alleged against RWS. (See Email attached as Exhibit “A.”)



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                                 LAW AND ARGUMENT

I.    Plaintiff’s New Claims Are Misjoined Under Rule 20.

      Rule 20 permits joinder of multiple defendants only if “(A) any right to relief is

asserted against them jointly, severally, or in the alternative with respect to or arising

out of the same transaction, occurrence, or series of transactions or occurrences; and

(B) any question of law or fact common to all defendants will arise in the action.”

Rule 20(a)(2). The Rule sets forth a two-pronged test for joining defendants in the

same action: plaintiff must demonstrate: (1) a right to relief against the party to be

joined, which is predicated upon or arises out of a single transaction or occurrence, or

a series of transactions and occurrences; and (2) questions of law or fact common to

all parties. Hahn v. U.S. Dep’t of Commerce, No. 2:11-CV-06369-ES-SCM, 2013 WL

4517980, at *2 (D.N.J. Aug. 26, 2013). Both requirements must be satisfied for

joinder to be permissible. Id.

      While the joinder standard is liberal, it “is not a license to join unrelated claims

and defendants in one lawsuit.” Harris v. Bennett, No. CIV.A. 13-6674 PGS, 2015

WL 3764654, at *3 (D.N.J. June 16, 2015). Misjoinder occurs when there are no

common questions of law or fact, or when the events that give rise to the plaintiff’s

claims against defendants do not stem from the same transaction. DirecTV, Inc. v.

Leto, 467 F.3d 842, 844 (3d Cir. 2006). And when a party is “misjoined,” Rule 21

permits a court to either “drop” the misjoined parties “on such terms that are just,” or



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 enter an order directing that any claims against misjoined parties “be severed and

 proceeded with separately.” Id. (quoting Rule 21).

       Here, the Court should sever Plaintiff’s claims against Does 1-3 because: (i)

 there is no logical connection or a transactional relationship between Plaintiff’s claims

 against RWS and Plaintiff’s claims against Does 1-3; and (ii) there are no common

 questions of law or fact supporting joinder.

       1.     Plaintiff’s claims against Does 1-3 are not transactionally related to
              its claims against RWS.

       Plaintiff’s new claims against Does 1-3 should be severed because they do not

 arise out of the same “transaction, occurrence, or series of transactions or

 occurrences” as the claims against RWS. Indeed, Plaintiff has explicitly stated that

 “Counts VI and VII are not asserted against RWS.” (Ex. A) (bold in original).

       Joinder is improper where a complaint purports to join unrelated defendants

 into a single action, who purportedly caused it damages through independent acts, at

 different times and locations, and through distinct transactions. See Live Face on Web,

 LLC v. Green Tech. Servs., No. CIV. 14-182 JEI/AMD, 2014 WL 2204303, at *3

 (D.N.J. May 27, 2014). As this District has observed, “[a] buckshot complaint ... —

 say, a suit complaining that A defrauded the plaintiff, B defamed him, C punched him,

 D failed to pay a debt, and E infringed his copyright, all in different transactions—

 should be rejected.” Id. (quoting George v. Smith, 507 F.3d 605, 607 (7th Cir. 2007)).

 Where the claims against various defendants lack a transactional nexus, joinder is


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 improper. Id. at *4 (finding improper joinder where “unrelated” defendants

 purportedly committed copyright infringement through “independent” actions);

 Harris, 2015 WL 3764654, at *3 (holding that “two completely separate and distinct

 claims against two sets of separate and distinct sets of defendants” were improperly

 joined). Improperly joining separate claims against separate parties arising out of

 separate facts can occur even when a complaint is amended to assert new claims

 against new defendants. See Trainer v. Anderson, No. CIV. 12-2409 SDW, 2012 WL

 1898605, at *2 (D.N.J. May 22, 2012).

       Here, Plaintiff’s claims against RWS are in no way related to Plaintiff’s new

 claims against Does 1-3. To be sure, the factual allegations relate to separate

 “transactions:” one is directed to RWS’s alleged smear campaign, and the other is

 direct to Does 1-3 cyberattacks, hacking attempts, and fake customer reviews. Plaintiff

 has even explicitly stated that “Counts VI and VII are not asserted against RWS.”

 Exh. A.

       Moreover, while Plaintiff claims that Hacking Doe targeted former RWS

 customers using information known only to Plaintiff and RWS (FAC, ¶ 12), these

 allegations do not constitute a single or related transaction or occurrence under Rule

 20. See Garcia v. BrockWeinstein, No. CIV.A. 13-7487, 2014 WL 2957487, at *3, 4

 (E.D. Pa. July 1, 2014) (joinder improper when there was “no allegation that the

 defendants acted in concert, and the alleged misconduct in the first [claim] will have



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 no legal effect on the alleged misconduct in the second [claim]” and “separate

 evidence must be presented with respect to each” claim); Fed. Trade Comm’n v. Endo

 Pharm., Inc., No. 16-1440, 2016 WL 6124376, at *4 (E.D. Pa. Oct. 20, 2016)

 (“transaction or occurrence” requirements requires a “logical relationship” among the

 claims).

       Nor do Plaintiff’s claims against RWS and Does 1-3 arise under the same

 theories of liability. Plaintiff’s claims against RWS arise under the Lanham Act (15

 U.S.C. § 1125) and common law theories of defamation, tortious interference, and

 unfair competition, for allegedly false and misleading advertising in connection with

 RWS’s marketing emails, newsletters, and phone calls. (Dkt. 12, ¶¶ 72-104.) In

 contrast, Plaintiff’s claims against Does 1-3 arise under the Computer Fraud and

 Abuse Act (18 U.S.C. § 1030) for the unlawful and anonymous cyberattack, hacking

 attempts, and disparaging remarks made by Fake-Customer Doe. (Id., ¶¶ 105-120.)

 These claims are analogous to a “buckshot complaint” in which Plaintiff has

 attempted to join separate claims against separate defendants in one lawsuit. Live Face

 on Web, LLC, 2014 WL 2204303, at *3.

       Plaintiff conceded that its new counts are not directed at RWS, and its

 Amended Complaint fails to establish that its claims against RWS are transactionally

 related to its claims against the John Doe defendants. Because Does 1-3 have been

 misjoined under Rule 20, Counts VI and VII against Does 1-3, and their



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 corresponding allegations, should be severed pursuant to Rule 21.

       2.     Plaintiff’s claims against Does 1-3 do not share “common questions
              of fact or law” to Plaintiff’s claims against RWS.

       The second prong of Rule 20(a)(2) requires a plaintiff to show that a “question

 of law or fact common to all defendants will arise in the action.” While this standard

 is not burdensome to meet, the rule does not permit joinder in the absence of “factual

 commonality.” See Cooper v. Fitzgerald, 266 F.R.D. 86, 91 (E.D. Pa. 2010); see also

 Gunn v. First Am. Fin. Corp., 549 F. App’x 79, 82-83 (3d Cir. 2013) (finding

 no common questions of law or fact that would support joinder where the complaint

 was “in reality two complaints, each of which [was] legally unrelated to the other.”).

       Here, Plaintiff’s claims against RWS “arise[] out of wholly different factual

 circumstances” than its claims against Does 1-3. O’Keefe v. Ace Rest. Supply, LLC,

 No. 11-1330, 2016 WL 145314, at *3 (E.D. Pa. Jan. 12, 2016). Plaintiff’s claims

 against RWS relate to RWS’s marketing and whether it constitutes false advertising or

 defamation, which bears no logical relationship to its allegations against Does 1-3 for

 cyberattacks, hacking, and the fake customer reviews. Nor do they arise out of the

 same set of circumstances as one relates to a newsletter sent out by RWS, and the

 other of internet-based hacking actions. Bradley v. Choicepoint Servs., Inc., No. 07-

 1255, 2007 WL 2844825, at *2-3 (E.D. Pa. Sept. 27, 2007) (no “logical relationship”

 exists between claims where they do not arise “out of the same set of circumstances”).

 Plaintiff even admits as much by stating that the claims against Does 1-3 are not


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 asserted against RWS.

       Because Plaintiff’s allegations regarding RWS and those regarding Does 1-3

 are “discrete and separate,” the claims against RWS are “capable of resolution despite

 the outcome of the [Doe defendants] claim[s],” and vice-versa. Turner Constr. Co. v.

 Brian Trematore Plumbing & Heating, Inc., No. 07-666 (WHW), 2009 WL 3233533,

 at *3 (D.N.J. Oct. 5, 2009). As such, Plaintiff’s claims against Does 1-3 should be

 severed. See Becker v. Chi. Title Ins. Co., No. 03-2292, 2004 WL 228672, at *2 (E.D.

 Pa. Feb. 4, 2004) (“When parties fail to satisfy the requirements of Rule 20 (a), they

 are considered to be misjoined and severable pursuant to Federal Rule of Civil

 Procedure 21.”).

 II.   Even If the Separate Claims Against the Separate Parties Could be Joined,
       The Court Should Use Its Discretion To Sever Them.

       Even if the requirements of Rule 20(a)(2) were met here (which they are not),

 discretionary severance under Rules 21 and 42(b), which permits a court to order

 separate trials on separate issues and claims, would be appropriate, because allowing

 the case to proceed as pleaded would result in jury confusion, judicial inefficiency,

 and unfair prejudice. See Patrick Collins, Inc. v. Does 1-43, No. 12-3908, 2013 WL

 12170608, at *1 (D.N.J. Feb. 15, 2013) (“Even when joinder is permissible, however,

 the Court may exercise its discretion and sever or drop defendants if it concludes that

 doing so would further the interests of judicial economy and that no party would be

 prejudiced.”); Patrick Collins, Inc. v. Does 1-30, No. 12-3148, 2013 WL 1157840, at


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 *2 (E.D. Pa. Mar. 21, 2013) (“even when the requirements of the Rule are met, a

 district court nevertheless maintains the discretion to sever defendants[.]”).

       This District has articulated three factors to consider when determining if

 severance is warranted: “(1) whether the issues sought to be tried separately are

 significantly different from one another, (2) whether the separable issues require the

 testimony of different witnesses and different documentary proof, (3) whether the

 party opposing the severance will be prejudiced if it is granted, and (4) whether the

 party requesting severance will be prejudiced if it is not granted.” Picozzi v. Connor,

 No. 12-4102 NLH, 2012 WL 2839820, at *6 (D.N.J. July 9, 2012). No single factor is

 determinative, and severing claims may be appropriate even if some of the factors do

 not favor severance. See, e.g., Archway Ins. Servs., LLC v. Harris, No. 10-5867, 2011

 WL 2415168, at *5–6 (E.D. Pa. June 15, 2011). Moreover, Rule 1 requires that the

 rules be construed, administered, and employed by the Court and the parties to secure

 the just, speedy, and inexpensive determination of every action.

       1.     The RWS and Doe claims involve different facts and present
              different legal issues.

       The amended complaint presents “two sets of defendants and two sets of

 claims,” with at best a “tenuous” connection between the two. In re Merrill Lynch &

 Co. Research Reports Sec. Litig., 214 F.R.D. 152, 156–57 (S.D.N.Y. 2003). In the

 absence of factual or transactional overlap, this factor weighs in favor of severance.




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       2.     Trying the RWS and Doe claims together will require different
              witnesses and documentary proof.

       Because Plaintiff’s claims against RWS will require separate fact and expert

 discovery, the Court should sever the two sets of claims now, at the action’s inception.

 See Harris, 2011 WL 2415168, at *5 (severance warranted where claims were

 “completely separate” and would “require largely different sources of proof to try.”).

 The two sets of claims will likewise require two sets of witnesses, with minimal

 overlap between them. Because RWS is not associated with Does 1-3, it is anticipated

 that no RWS witnesses will have any knowledge about the attempted “hacks” or

 cyberattacks allegedly perpetrated by Does 1-2. Likewise, no RWS witness will have

 knowledge of Fake-Customer Doe’s attempts to complain about Plaintiff’s website

 functionality. Similarly, it is foreseeable that RWS and Does 1-3 will require separate

 expert witnesses and discovery to assist the fact finder in interpreting the various,

 distinct technical issues implicated in their very different claims. Adjudicating these

 issues in a single action only threatens to compound the already sizeable burden and

 expense associated with fact and expert discovery.

       3.     Plaintiff will not be prejudiced if the Doe claims are severed.

       Plaintiff will not be prejudiced if its John Doe claims are severed, as Plaintiff

 will be entitled to prosecute those claims in this Court, albeit under a new case

 number. Courts typically find prejudice to the nonmoving party where severance

 would require it to “litigate essentially the same case twice.” Demarco v. DIRECTV,


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 LLC, No. 14-4623 (PGS), 2015 WL 6525900, at *8 (D.N.J. Oct. 28, 2015); see Randle

 v. Alexander, 960 F. Supp. 2d 457, 486 (S.D.N.Y. 2013) (“Randle would be

 prejudiced if forced to litigate his claims in separate forums, presenting them as

 discrete instances, when, in reality, they are interrelated.”). Here, however, because

 Plaintiff does not identify any connection between RWS and Does 1-3, and concedes

 that “Counts VI and VII are not asserted against RWS,”—much less allege facts

 showing that its claims are so interrelated to constitute “essentially the same case”—

 Plaintiff cannot maintain that it would unduly be prejudiced by severance.

       4.    RWS will be prejudiced if the Doe claims remain in this litigation.

       Joinder would be prejudicial to RWS because the factual and legal issues

 relating to Plaintiff’s claims against RWS are materially different than those relating

 to its claims against Does 1-3. Joinder would also be prejudicial because a jury would

 find it difficult and confusing to recall the salient facts concerning different

 defendants, different events, and different technical analyses. The discovery needs of

 the separate claims will follow separate discovery tracks requiring different proof,

 defenses, and expert testimony, making misjoinder unjust, slow, and expensive. In

 addition, this creates a risk at trial that an innocent defendant, like RWS, will be

 prejudiced by being grouped with other potentially culpable defendants. This is

 particularly likely due to the incendiary nature of the allegations against Does 1-3,

 which will cloud the entire proceeding. Severing Plaintiff’s claims against the John



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 Doe defendants will further streamline proceedings, while lessening the risk of

 prejudice. See Turner Constr., 2009 WL 3233533, at *5 (“[T]he efficient resolution of

 justice supports severing the underlying claims and resolving them ….”).


       5.    Judicial economy and convenience favor severance.

       Severing the Doe claims will also promote judicial economy and convenience.

 The claims against RWS and Does 1-3 must be viewed separately by the Court. See,

 e.g., Next Phase Distribution, Inc. v. John Does 1-27, 284 F.R.D. 165, 170 (S.D.N.Y.

 2012) (granting motion to sever where “the Court would have to adjudicate separate

 motions and discovery disputes and make decisions based on evidence not common to

 all defendants,” such that “case management and the litigation process … would

 quickly become complicated and unmanageable”). Severing the Doe claims from this

 action streamlines the litigation by limiting the risk of separate and unrelated

 discovery disputes and case management issues. Accordingly, even if it finds that the

 technical requirements for joinder are met under Rule 20 (a) (which they are not), the

 Court should exercise its discretion to sever Plaintiff’s separate claims against the

 separate Doe defendants.




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 III.   Plaintiff Fails To Provide Sufficient Specificity For Its Computer Fraud
        And Abuse Act (Count VI) and Tortious Interference with Contract
        (Count VII) Claims.1

        In the alternative, should the Court permit Plaintiff to prosecute Count VI and

 Count VII in this action, these claims should be dismissed under Rule 12(b)(6) as

 Plaintiff has failed to plead these claims with the specificity required under Twombly

 and Iqbal.

        1.      Legal standard.

        Plaintiff’s allegations fail to meet basic pleading standards under the Federal

 Rules of Civil Procedure, as Plaintiff fails to plead its alleged hacking and cyber-

 attacks claims with sufficient specificity to adequately provide notice. To satisfy the

 pleading requirements of Rule 8, a complaint must contain sufficient factual matter,

 accepted as true, to state a claim to relief that is plausible on its face. Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 570 (2007). The “[f]actual allegations must be

 enough to raise a right to belief above the speculative level.” Phillips v. County of

 Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). Although a complaint’s factual

 allegations are accepted as true at the pleading stage, legal conclusions are insufficient

 to survive a Rule 12(b)(6) motion. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2010).

 Accordingly, “[t]hreadbare recitals of the elements of the cause of action, supported


 1
   While Plaintiff has stated that “Counts VI and VII are not asserted against RWS,” these claims still
 fail to provide any potential defendant notice, and thus should be dismissed pursuant to Fed. R. Civ.
 P. 12(b)(6).


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 by mere conclusory statements, do not suffice.” Id.; Twombly, 550 U.S. at 555 (A

 sufficiently pled cause of action “requires more than labels and conclusions, and a

 formulaic recitation of the elements of a cause of action will not do.”).

        2.     Count VI should be dismissed because Plaintiff has failed to plead its
               Computer Fraud and Abuse Act claim the requisite specificity under
               Twombly and Iqbal.
        Plaintiff claimed that two John Doe defendants—i.e., Cyber-Attack Doe and

 Hacking Doe (“Does 1 & 2”)—violated the Computer Fraud and Abuse Act

 (“CFAA”), 18 U.S.C. § 1030. However, Plaintiff failed to provide any details about

 their alleged conduct, such as what websites were affected, how those websites were

 purportedly damaged, where the alleged conduct originated from, and how the alleged

 attacks were conducted, among other deficiencies. Thus, Plaintiff failed to provide the

 specificity required under Twombly and Iqbal. As a result, Plaintiff’s CFAA claim

 should be dismissed under Rule 12(b)(6).

        The CFAA prohibits “knowingly caus[ing] the transmission of a program,

 information, code, or command, and as a result of such conduct, intentionally

 caus[ing] damage without authorization, to a protected computer.” 18 U.S.C. §

 1030(a)(5)(A).2 For purposes of the CFAA, “[d]amage” is defined as “any impairment

 to the integrity or availability of data, a program, a system, or information.” 18 U.S.C.

 § 1030(e)(8).
 2
   Count VI of the Amended Complaint states that Plaintiff’s claims are based upon claimed
 violations of 18 U.S.C. § 1030(a)(5)(A). As a result, RWS will address Plaintiff’s claims with the
 understanding that they are pleaded under this section and not any other section of the CFAA.


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       Here, Plaintiff alleges Does 1 & 2 violated Section (a)(5)(A) of the CFAA by

 coordinating “several” Denial of Service (“DoS”) and Distributed Denial of Service

 (“DDoS”) attacks against its computers and its customers’ websites, and by

 attempting to “hack” into its software platform. (Am. Compl., ¶¶ 106-107.) In order to

 survive a motion to dismiss, however, more is required. Plaintiff has not pleaded with

 specificity, for example, what websites were allegedly affected or targeted, how those

 sites were purportedly damaged, where the alleged conduct originated from that

 allegedly were used by the attackers, in what manner were the alleged attacks

 conducted, how many DoS or DDoS attacks were made, when these attacks were

 made, where the attacks originated (other than a vague reference to Scottsdale, AZ),

 which computers were effected, whether the attacks were successful or unsuccessful,

 or whether any computers or computer systems were “damaged,” and if so, how. Nor

 has Plaintiff provided the IP address(es) from which the attacks originated, despite

 claiming that it successfully blocked these attacks. (Id., ¶ 8.) At most, Plaintiff has

 provided a threadbare recitation of the elements of its claim, which is insufficient at

 the pleading stage.

       Plaintiff’s attempt to plead “damages” under the CFAA is likewise insufficient.

 Although Plaintiff refers to the CFAA’s $5,000 threshold (at ¶ 110), it never alleges

 that its computers incurred that much damage, or in what manner. In fact, Plaintiff

 never alleges any specific economic value of damage—or any damage at all—to its



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 computers. Rather, it pleads vague economic damage categories in conclusory

 fashion, such as purported damages for analyzing, investigating, and responding to

 alleged cyber threats. (Am. Compl., ¶ 110.) These allegations are insufficient to

 satisfy the Iqbal/Twombly standard. See Bashaw v. Johnson, No. 11–2693–JWL, 2012

 WL 1623483, at *1–3 (D.Kan. May 9, 2012) (conclusory allegation that claimant “has

 been damaged,” and further assertion that “data was erased,” insufficient to state

 CFAA claim); Fink v. Time Warner Cable, No. 08 Civ. 9628(LTS)(KNF), 2009 WL

 2207920, at *4 (S.D.N.Y. July 23, 2009) (dismissing CFAA claim where plaintiff

 alleged only that defendant caused damage by impairing the availability of data); Bose

 v. Interclick, Inc., No. 10 Civ. 9183(DAB), 2011 WL 4343517, *4 (S.D.N.Y. Aug. 17,

 2011) (dismissing CFAA claim for failure “to quantify any damage” that was caused

 to “computers, systems or data that could require economic remedy,” how the conduct

 “impaired the functioning and diminished the value” of Bose’s computer in a general

 fashion,” and for failing to specify “the cost of repairing the alleged damage to her

 computer”); Oce North America, Inc. v. MCS Servs., Inc., 748 F.Supp.2d 481, 488

 (D.Md. 2010) (finding plaintiff's allegation that it “has suffered impairment to the

 integrity or availability of its data, programs, systems and information resulting in

 losses or damages in excess of $5000 during a one year period” to be conclusory and

 insufficient).

        After stripping the amended complaint of mere “legal conclusion[s] couched as



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 [] factual allegation[s],” Plaintiff’s allegations constitute mere threadbare recitals of

 the elements of a Section (a)(5)(A) claim without any factual “meat on the bones.”

 USG Ins. Servs., Inc. v. Bacon, No. 2:16-CV-01024, 2016 WL 6901332, at *5 (W.D.

 Pa. Nov. 22, 2016) (dismissing CFAA claim for lack of specificity in pleading); see

 Advanced Fluid Systems, Inc. v. Huber, 28 F. Supp. 3d 306, 330-31 (M.D. Pa. 2004)

 (“conclusory allegations, reflecting only a formulaic recitation of the [CFAA]'s loss

 element, are insufficient to satisfy federal pleading requirements.”). Accordingly,

 Plaintiff’s CFAA claim should be dismissed.

       3.     Count VII should be dismissed because Plaintiff has failed to plead
              its Tortious Interference claim with the requisite specificity under
              Twombly and Iqbal.
       Plaintiff’s claim for tortious interference with contract against the John Doe

 defendants (Count VII) fails for the same reason as its CFAA claim.

       In New Jersey, the elements of a tortious interference with contractual relations

 claim are as follows: “(1) existence of a contract; (2) defendant’s knowledge of that

 contract; (3) defendant’s intentional and improper procuring of the breach (i.e.

 malice); and (4) damages. Elbex Video, Ltd. v. Tyco Int’l, Ltd., No. CIV.A. 06-

 5178PGS, 2008 WL 1375883, at *5 (D.N.J. Apr. 9, 2008) (citation omitted, emphasis

 in original). Under New Jersey law of tortious interference, the “notion of ‘malice’

 requires that the defendant acted intentionally with respect to a known contractual

 duty of another; it does not suffice that a defendant ‘should have known’ of the



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 contractual relationship, because one cannot act with intent to interfere with a contract

 unless that contract is actually known.” Baxter Healthcare Corp. v. HQ Specialty

 Pharma Corp., 157 F. Supp. 3d 407, 421 (D.N.J. 2016).

       Here, as with its CFAA claim, Plaintiff does nothing more than set forth a

 threadbare series of allegations, which allegedly give rise to tortious interference with

 contract. As to the Cyber-Attack and Hacker Does, Plaintiff’s tortious interference

 claim relies on the same unsubstantiated, vague “facts” as its CFAA claim. Plaintiff

 fails to allege what customers or potential customers were targeted, what websites

 were allegedly targeted, where the attacks originated (e.g. by IP address), when or

 how many attacks were made, whether any computers were damaged, or what

 computers, servers or computer systems were affected.

       Plaintiff’s allegations as to Fake Customer Doe are similarly vague and lacking

 in specificity. Plaintiff does not allege to whom Fake Customer Doe allegedly

 “disparaged” Plaintiff, how many customers this individual contacted, who these

 customers were, or where, if anywhere, this individual posted allegedly inaccurate

 information. Plaintiff also fails to establish how this alleged commercial

 disparagement is actionable, different from typical internet postings or feedback, or

 otherwise related or germane to this case. Further, while Plaintiff alleges that the John

 Doe defendants were “fully aware” of Plaintiff’s contractual relationships –

 relationships which Plaintiff likewise fails to identify or plead with specificity – this



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 allegation, without more, is insufficient to satisfy Twombly and Iqbal. See Baxter

 Healthcare Corp., 157 F. Supp. 3d at 421 (“it does not suffice that a defendant ‘should

 have known’ of the contractual relationship, because one cannot act with intent to

 interfere with a contract unless that contract is actually known”). Accordingly,

 Plaintiff’s tortious interference claim, like its CFAA claim, lacks the requisite

 specificity and should be dismissed.

                                     CONCLUSION

       For the foregoing reasons, the claims against the John Doe defendants (Counts

 VI and VII) should be severed from this action. In the alternative, should the Court

 decline to sever these counts, they should nevertheless be dismissed for failure to state

 a claim as Plaintiff has failed to plead them with the requisite specificity.


 Dated: October 1, 2018                     Respectfully submitted,

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                              CERTIFICATE OF SERVICE
            I hereby certify that on October 1, 2018, a true and correct copy of the

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